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 6   Attorney for Defendant
     ANITA SHARMA
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                                  IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
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10                                                      Case No.: 13-cr-084-GEB
     UNITED STATES OF AMERICA,
11                   Plaintiff,                         EX PARTE APPLICATION AND
12           vs.                                        [PROPOSED] ORDER PERMITTING MS.
                                                        ANITA SHARMA TO TRAVEL
13   ANITA SHARMA,

14                   Defendant.

15   I, Charles J.S. Woodson, declare:

16       1. I represent Defendant Anita Sharma in the above-entitled matter. She is currently

17   released on a $50,000.00 unsecure bond. Dkt. 14. Ms. Sharma requests the court grant an order

18   permitting her to travel to Surrey, British Columbia, Canada to visit her elderly father. I have

19   provided the government with Ms. Sharma’s travel itinerary.

20       2. The purpose of this request is to allow Ms. Sharma to visit her elderly father.

21       3. I have conferred with the Government’s counsel, Jared C. Dolan, who has no objection

22   to this application.

23       4. I have conferred with Officer Ryan Garcia with pretrial services who has no objection to

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     Ex Parte Application and [PROPOSED] ORDER                                                          1
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 1   this application.

 2      5. Based on the foregoing, I respectfully request Ms. Sharma be permitted to travel to on

 3   June 9, 2017 to Surrey, British Columbia, Canada, to visit her elderly father and Ms. Sharma

 4   will return home on June 15, 2017.

 5   Date: June 6, 2017___                                          /s/
                                                         CHARLES J.S. WOODSON
 6

 7                                        [PROPOSED] ORDER

 8   Based on the foregoing, and good cause appearing:

 9           IT IS SO ORDERED that Defendant Anita Sharma is permitted to travel on June 9, 2017

10   to Surrey, British Columbia, Canada to visit her elderly father and she is to return home on, or

11   before June 15, 2017. All other terms and conditions of Ms. Sharma’s release shall remain the

12   same.

13   Dated: June 6, 2017

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     Ex Parte Application and [PROPOSED] ORDER                                                      2
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